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 7   Attorney for Salvador Hernandez

 8
                                    UNITED STATES DISTRICT COURT
 9
                                        DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                               Case No. 2:19-mj-00811-DJA

12                     Plaintiff,                            JOINT STIPULATION TO
                                                             CLOSE CASE
13          v.

14   SALVADOR HERNANDEZ,

15                     Defendant.

16
17          IT IS HEREBY STIPULATED AND AGREED, by and between Acting United States
18   Attorney Christopher Chiou and Rachel Kent, Special Assistant United States Attorney, counsel
19   for the United States of America, and Rene L. Valladares, Federal Public Defender, and
20   Katherine Tanaka, Assistant Federal Public Defender, counsel for Salvador Hernandez, that the
21   case be closed.
22          This Stipulation is entered into for the following reasons:
23          1.         On February 12, 2020, Mr. Hernandez pled guilty to the charge of Operating or
24   being in Actual Physical Control of a Motor Vehicle while under the Influence of Alcohol in
25   violation of 36 C.F.R. § 4.23(a)(1). ECF No. 17. This Court sentenced Mr. Hernandez to one
26   year of unsupervised probation with the following conditions: (1) pay a $1140.00 Fine and
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 1   $10 Assessment; (2) complete DUI School with Victim Impact Panel; (3) complete 8 hours
 2   alcohol awareness class; (4) not to violate any local, state, or federal laws; and (5) stay out of
 3   Lake Mead National Recreational Area for a period of 6 months. The remaining charges were
 4   dismissed.
 5          2.      Defendant has successfully completed the conditions. Defendant has paid the
 6   $1140 fine and $10 assessment, completed a DUI and VIP course, and has reported he has not
 7   violated any local, state, or federal laws and that he did not enter the Lake Mead National
 8   Recreation from February 2020 to October 2021.
 9          3.      The Government is satisfied Defendant has completed the conditions of his
10   sentencing.
11          4.      Because Defendant has successfully completed the terms of his sentencing, the
12   parties request the Court that the case be closed.
13          DATED this 5th day of October 2021.
14
15    RENE L. VALLADARES                                  CHRISTOPHER CHIOU
      Federal Public Defender                             Acting United States Attorney
16
17
      By /s/ Katherine Tanaka                             By /s/ Rachel Kent
18    KATHERINE TANAKA                                    RACHEL KENT
      Assistant Federal Public Defender                   Special Assistant United States Attorney
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 1                              UNITED STATES DISTRICT COURT

 2                                    DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                             Case No. 2:19-mj-00811-DJA
 4
                   Plaintiff,                              [PROPOSED] ORDER]
 5                                                         ORDER
            v.
 6
     SALVADOR HERNANDEZ,
 7
                   Defendant.
 8
 9
                                               ORDER
10
            Based on the pending Stipulation of counsel, the Court finds Defendant has
11
     successfully completed the conditions of his sentencing.
12
            IT IS THEREFORE ORDERED that the case is closed.
13
            DATED this ____
                        6th day of October 2021.
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                                                 UNITED STATES MAGISTRATE JUDGE
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